

Matter of Ford v Board of Educ. of the City Sch. Dist. of the City of N.Y. (2020 NY Slip Op 06349)





Matter of Ford v Board of Educ. of the City Sch. Dist. of the City of N.Y.


2020 NY Slip Op 06349


Decided on November 05, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 05, 2020

Before: Acosta, P.J., Singh, Kennedy, Shulman, JJ. 


Index No. 100062/18 Appeal No. 12284 Case No. 2019-2696 

[*1]In the Matter of Brian Ford, Petitioner-Respondent,
vThe Board of Education of the City School District of the City of New York, etc., et al., Respondents-Appellants.


Georgia M. Pestana, Acting Corporation Counsel, New York (Melanie T. West of counsel), for appellants.
Hagan, Coury &amp; Associates, Brooklyn (Paul Golden of counsel), for respondent.



Judgment, Supreme Court, New York County (Carmen Victoria St. George, J.), entered January 17, 2019, vacating the penalty portion of an arbitration award and remanding the matter to respondents for the imposition of a lesser penalty, unanimously reversed, on the law, the penalty reinstated, and the proceeding brought pursuant to CPLR article 75 dismissed, without costs.
We do not find the penalty of termination of petitioner's employment as a teacher shocking to one's sense of fairness (see Matter of Pell v Board of Educ. of Union Free School Dist. No. 1 of Towns of Scarsdale &amp; Mamaroneck, Westchester County, 34 NY2d 222, 233 [1974]), given the evidence of petitioner's pedagogical shortcomings, documented by supervisors and a peer evaluator, and his lack of improvement during two school years (see Matter of Johnson v Board of Educ. of the City Sch. Dist. of the City of N.Y., 171 AD3d 548 [1st Dept 2019]; Matter of Russo v New York City Dept. of Educ., 25 NY3d 946, 948 [2015], cert denied 577 US 957 [2015] [notwithstanding 18 years of satisfactory teaching, termination after three years of unsatisfactory ratings that followed was not shocking to sense of fairness]).
We have considered petitioner's remaining contentions and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 5, 2020








